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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


In re:                                                              Chapter 11

USA GYMNASTICS, 1                                                   Case No. 18-09108-RLM-11

                   Debtor.


                    PACHULSKI STANG ZIEHL & JONES LLP’S NOTICE
                   OF INVOICE FOR MAY 1, 2019 THROUGH MAY 31, 2019

         PLEASE TAKE NOTICE that on August 15, 2019, Pachulski Stang Ziehl & Jones LLP

(“PSZJ”), as co-counsel to the Additional Tort Claimants Committee of Sexual Abuse Survivors

(the “Sexual Abuse Survivors’ Committee”), submitted a monthly invoice for fees and expenses

incurred between May 1, 2019 and May 31, 2019 (the “Invoice”), in accordance with the Order

Granting Debtor’s Motion for Entry of Order Establishing Procedures for Interim Compensation

and Reimbursement of Professionals (the “Interim Compensation Order”) [Doc 187].

         PLEASE TAKE FURTHER NOTICE that the Invoice, attached hereto as Exhibit A,

seeks compensation for $233,000.50 in fees and reimbursement of $1,454.99 in expenses.

         PLEASE TAKE FURTHER NOTICE that any party that has an objection to the

compensation and reimbursement set forth in this notice, must serve upon the undersigned

counsel a written notice of objection by August 29, 2019 at 4:00 p.m. (prevailing Eastern

time), in accordance with the Interim Compensation Order.

         PLEASE TAKE FURTHER NOTICE that, if no written notice of objection is timely

received, the Debtor shall promptly pay 80% of the fees and 100% of the expenses identified in

the Invoice, subject to final approval by the Court at a future hearing.

1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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                                      Respectfully submitted,
                                      PACHULSKI STANG ZIEHL & JONES LLP
Dated: August 15, 2019                /s/ James I. Stang
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                                      RUBIN & LEVIN, P.C.
                                      /s/ Meredith R. Theisen
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                               CERTIFICATE OF SERVICE

        I hereby certify that on August 15, 2019 a copy of the foregoing Pachulski Stang Ziehl &
Jones LLP’s Notice of Invoice for May 1, 2019 through May 31, 2019 was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

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        I further certify that on August 15, 2019, a copy of the foregoing Pachulski Stang Ziehl &
Jones LLP’s Notice of Invoice for May 1, 2019 through May 31, 2019 was served via electronic
mail to the following:
United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                                             /s/ Meredith R. Theisen
                                                                             Meredith R. Theisen
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